           Case 1:05-cr-00240-AWI Document 57 Filed 08/23/06 Page 1 of 2


 1   DANIEL A. BACON 065099
     Attorney at Law
 2   5200 North Palm, Suite 408
     Fresno, California 93704
 3   Telephone: (559) 241-7000
 4   Attorney for JUAN GONZALES
 5
 6
                                       UNITED STATES DISTRICT COURT
 7
                                     EASTERN DISTRICT OF CALIFORNIA
 8
 9
10
     UNITED STATES OF AMERICA,                  )                   NO. 1:05 CR 00240 AWI
11                                              )
                          Plaintiff,            )                   STIPULATION TO CONTINUE
12                                              )                   MOTION TO SUPPRESS
                   vs.                          )                   AND ORDER THEREON
13                                              )
     JUAN GONZALES, et al.,                     )                   DATE:         August 21, 2006
14                                              )                   TIME:         9:00 AM
                          Defendants.           )                   DEPT:         Anthony W. Ishii
15   __________________________________________ )

16
                       IT IS HEREBY STIPULATED by and between the parties hereto through
17
     their attorneys of record that the motions hearing presently scheduled before the Hon
18
     Anthony W. Ishii for August 21, 2006 at the hour of 9:00 AM be continued to October 2,
19
     2006 at 9:00 AM.
20
                       The parties agree that the delay resulting from the continuance shall be
21
     excluded in the interests of justice, including, but not limited to, the need for the period
22
     of time set forth herein for effective defense preparation pursuant to 18 U.S.C.
23
     Section 3161 (h)(8)(B)(iv).
24
     Dated: August 16, 2006.                                 McGREGOR W. SCOTT, United States Attorney
25
26
                                                             By: /s/ Kathleen Servatius
27                                                           KATHLEEN SERVATIUS, Assistant U.S. Attorney
                                                             Attorney for Plaintiff
28

     Stipulation to Continue Motion to Suppress and Order Thereon
           Case 1:05-cr-00240-AWI Document 57 Filed 08/23/06 Page 2 of 2


 1   Dated: August 16, 2006..
 2
                                                             /s/ Daniel A. Bacon
 3                                                           DANIEL A. BACON,
                                                             Attorney for Defendant JUAN GONZALES
 4
     Dated: August 16, 2006.
 5
 6                                                           /s/ Stephen Quade
                                                             STEPHEN QUADE
 7                                                           Attorney for Defendant ANNETTE SALAZAR
 8   Dated: August 16, 2006..
 9
                                                             /s/ Philip A. DeMassa
10                                                           Philip A. DeMassa
                                                             Attorney for Defendant JUAN GONZALES
11
12
13
                                                           ORDER
14
                       IT SO ORDERED. Time is excluded in the interests of justice pursuant to
15
     18 U.S.C. Section 3161 (h)(8)(B)(iv).
16
17
     IT IS SO ORDERED.
18
     Dated:       August 23, 2006                                 /s/ Anthony W. Ishii
19   0m8i78                                                 UNITED STATES DISTRICT JUDGE
20
21
22
23
24
25
26
27
28

     Stipulation to Continue Motion to Suppress and Order Thereon                                   2
